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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.
                                                                                      3:20-mj-00147
                   ROWAN M. OLSEN,                                 )
               aka KEIFER ALAN MOORE,                              )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     July 2, 2020               in the county of             Multnomah           in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                     Offense Description
41 C.F.R. § 102.74.380(d);                      Count 1: Creating a Hazard on Federal Property
41 C.F.R. § 102.74.390; and                     Count 2: Disorderly Conduct on Federal Property
41 C.F.R. § 102.74.385                          Count 3: Failing to Obey a Lawful Order




         This criminal complaint is based on these facts:
See Attached Affidavit of Federal Protective Service SeniorSpecial Agent David Miller




         ✔ Continued on the attached sheet.
         u

                                                                                     /s/ Signed IAW Fed. R. Crim. P. 4.1
                                                                                              Complainant’s signature

                                                                                      David Miller, Special Agent, FPS
                                                                                               Printed name and title

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WHOHSKRQHDWBBBBBBBBDPSP

Date:        -XO\
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                      HON. YOULEE YIM YOU, U.S. Magistrate Judge
                                                                                               Printed name and title
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DISTRICT OF OREGON                     )
                                       ) ss: AFFIDAVIT OF SENIOR SPECIAL AGENT
County of Multnomah                    )     DAVID MILLER

              Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, David Miller, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.       I am employed as a Special Agent (SA) with the Federal Protective Service (FPS)

and have been employed by FPS since October 2009. I have participated in several

investigations relating to the protection of federal facilities and personnel. I am currently

assigned to Region 10 in Portland, Oregon as a general crimes agent and in the capacity of a part

time Task Force Officer for the United States Marshals Service (USMS) Pacific Northwest

Violent Offender Task Force, part time investigator for the FPS Office of Internal Investigations

(OII) and liaison for the Federal Bureau of Investigation (FBI) Joint Terrorism Task Force

(JTTF) . I was previously a Special Agent with the Naval Criminal Investigative Service (NCIS)

serving as a member of the Major Crimes Response Team (MCRT) and Foreign

Counterintelligence agent from April 2006 until October 2009. I am a former Special Agent

with the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) in Yakima, Washington

having been employed from September 2002 until April 2006. Before the positions listed, I have

been a former Federal Air Marshal, ATF Inspector, Honolulu Police Officer, Salina Police

Officer and Great Bend Police Officer and started my law enforcement career in 1991. I

graduated from the FPS Advanced Individual Training Program in November 2009. I graduated

from the NCIS Advanced Individual Academy in 2006. I graduated from the ATF National

Academy in June of 2003. I graduated from the Federal Law Enforcement Training Center

Criminal Investigator Course in March of 2003. I graduated from the Federal Law Enforcement
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Training Center Civil Aviation Security Specialist Course in February of 2002 and the ATF

Inspector Course in January of 2001. I graduated from the Honolulu Police Department

Academy in June of 1999 and the Kansas Law Enforcement Training Academy in January of

1994. I graduated from the U.S. Army Military Intelligence Officer Basic Course in August of

1996 and the U.S. Army Military Intelligence Enlisted Course in February of 1988. I received a

bachelor’s degree in Social Sciences at Emporia State University in 1992 and an Associate

Degree in Criminal Justice at Barton County Community College in 1995. As a result of training

and experience as an FPS Special Agent, I am familiar with Federal laws.

       2.       I submit this affidavit in support of a criminal complaint and arrest warrant for

Rowan M. Olsen (OLSEN). As set forth below, there is probable cause to believe, and I do

believe, that OLSEN committed the following offenses: Creating a Hazard on Federal Property

in violation of 41 C.F.R. § 102.74.380(d), Disorderly Conduct on Federal Property in violation of

41 C.F.R. § 102.74.390, and Failing to Obey a Lawful Order in violation of 41 C.F.R.

§ 102.74.385.

       3.       The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.


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                                           Applicable Law

       4.        Subject Offenses: I believe probable cause exists that Rowen M. Olsen

committed the following offenses:


             x   41 C.F.R. 102-74-380(d) (Creating a Hazard on Federal Property): provides that

                 all persons on federal property are prohibited from creating any hazard on

                 property to persons and things.

             x   41 C.F.R. 102-74.390(a), (b) and (c) (Disorderly Conduct): provides that all

                 persons on federal property are prohibited from loitering, exhibiting disorderly

                 conduct or exhibiting other conduct on property that (a) creates loud or unusual

                 noise or nuisance; (b) unreasonably obstructs the usual use of entrances, foyers,

                 lobbies, corridors, offices, elevators, stairways or parking lots; and (c) otherwise

                 impedes or disrupts the performance of official duties by Government employees.

             x   41 C.F.R. 102-74.385 (Failing to Obey a Lawful Order): provides in pertinent part

                 that persons in and on federal property must at all times comply with the lawful

                 direction of Federal police officers and other authorized individuals.


                                    Statement of Probable Cause

       5.        Since on or about May 26, 2020, protesters have gathered in Portland public areas

to protest. Three of these public areas are Lownsdale Square, Chapman Square and Terry

Schrunk Plaza. The Portland Justice Center, housing Portland Police Bureau’s (PPB) Central

Precinct and the Multnomah County Detention Center (MCDC), border these parks, as does the




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Mark O.Hatfield United States Federal Courthouse 1. The United States of America owns the

entire city block (Block #24) occupied by the courthouse building depicted below:




Daily protests have regularly been followed by nightly criminal activity in the form of

vandalism, destruction of property, looting, arson, and assault. Most violent of these impacting

federal property occurred on May 28, 2020, when the Portland Field Office for the Immigration

and Customs Enforcement (ICE) was targeted by a Molotov Cocktail. The Mark O. Hatfield

Courthouse has experienced significant damage to the façade and building fixtures during the six

weeks following this incident. Additionally, mounted building security cameras and access

control devices have been vandalized or stolen. The most recent repair estimate for the damage

at the Mark O. Hatfield Courthouse is in excess of $50,000. Other federal properties in the area


1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the Portland Oregon area.
The federal government owns the entire city block occupied by the Mark O. Federal Courthouse. Easements have
been granted for the sidewalks surrounding the facility. The property boundary extends past the sidewalks and into
the streets surrounding the courthouse.
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routinely being vandalized include the historic Pioneer Federal Courthouse, the Gus Solomon

Courthouse, and the Edith Green Wendall Wyatt Federal Office Building. FPS law enforcement

officers, US Marshal Service Deputies and other federal law enforcement officers working in the

protection of the Mark O. Hatfield Courthouse have been subjected to threats, aerial fireworks

including mortars, high intensity lasers targeting officer’s eyes, thrown rocks, bottles and

balloons filled with paint, and vulgar language from demonstrators while preforming their duties.

       6.       On July 2, 2020, OLSEN obstructed, impeded, and interfered with FPS and

USMS during the performance of their official duties in protecting federal property, namely the

Mark O. Hatfield Federal Courthouse. OLSEN entered onto the federal property and used his

body to push on and hold a door being used by officers closed preventing the officers from

exiting the building. These actions contributed to the glass door breaking, injuring a Deputy US

Marshal, and compromised the security integrity of the Federal Courthouse. With the door

broken, officers were subject to projectiles from demonstrators, to include a mortar firework

which detonated amongst them. Officers used a riot shield and their bodies to block the open

doorway for approximately six hours until the demonstrators were dispersed, and the broken

door replaced with plywood.

       7.       On July 3, 2020, at approximately 1:44 a.m., Special Agents (SAs) David Miller

and Micah Coring interviewed Deputy United States Marshal (DUSM) Alexander Penvela at the

Hatfield USCH. DUSM Penvela related he was at the front glass door entrance of the Hatfield

Courthouse at approximately 11:38 p.m. with other DUSMS and officers of the Federal

Protective Service. Protestors had begun coming to the door and attempted to pull on the door

and interfere with operations. DUSM Penvela was holding onto the door and an unknown white


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male, later identified as OLSEN, was tugging on the glass door. Another unknown subject

placed a 2”x4” wood board into the glass doorway during the standoff and the door completely

shattered. It was several minutes before any attempt was made to arrest OLSEN due to the

agitated crowd outside the courthouse entrance. When it became safe, an arresting team went

outside and grabbed OLSEN, with all of them ending up on the ground. OLSEN was kicking his

legs in an apparent attempt to get up and escape. DUSM Penvela grabbed OLSEN’S legs while

two other DUSMs handcuffed him and carried OLSEN’S upper torso. OLSEN was carried into

the courthouse and subsequently placed into a USMS detention cell. OLSEN was surprisingly

quiet and did not utter any words during the arrest. DUSM Penvela sustained small lacerations

on both hands and arms from the shattered glass door.

       8.       On July 3, 2020, at approximately 4:50 a.m., SA Miller and SA Coring

interviewed DUSM Mitchell V. Batty at the Hatfield USCH. DUSM Batty related he was on the

arrest team and OLSEN had been identified as the subject who had shattered the front glass door.

Due to the aggressive crowd and safety concerns, the arrest team waited approximately 30 to 60

minutes after the door had been shattered before arresting OLSEN. When the command was

given, the arrest team went outside and DUSM Batty put his arms around OLSEN and they

subsequently ended up on the ground. DUSM Batty helped handcuff the subject and bring

OLSEN into the building.

       9.       On July 3, 2020, at approximately 5 a.m., SA Miller and SA Coring interviewed

DUSM Troy Gangwisch at the Hatfield USCH. DUSM Gangwisch related it was extremely

chaotic due to the aggressive crowd and fireworks being shot towards the law enforcement

personnel. DUSM Gangwisch described a wrestling match at the front glass door between the


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USMS and protestors. He saw a shirtless white male, later identified as OLSEN, at the glass

door when it shattered. OLSEN left the immediate area but later returned. A female FPS officer

(Inspector Stephanie Blasingame) pointed out OLSEN as the person responsible for shattering

the glass. The arrest team went outside and grabbed OLSEN. OLSEN initially resisted by

refusing to place his arms behind his back with DUSM Gangwisch placing OLSEN’s left arm

behind his back and OLSEN then allowed his right arm to go behind his back. OLSEN was

handcuffed and brought into the courthouse and was subsequently taken to a USMS holding cell

on the fourth floor for processing.

         10.    On July 3, 2020, at approximately 5:30 a.m., SA Miller interviewed Protective

Security Officer (PSO) David Ide at the Hatfield USCH. PSO Ide related he observed several

protestors attacking the front glass door of the USCH and a tug of war ensued between protestors

and DUSMs. PSO Ide believes he saw a white shirtless male possibly wedge a skateboard

between the glass door and glass wall which caused the glass door to shatter. The DUSMs

subsequently went outside and arrested the subject and brought him inside the USCH.

         11.   On July 3, 2020, at approximately 10:33pm, Federal Protective Service (FPS)

Inspector Stephanie Blasingame provided a typed narrative to SA Miller which is summarized

below:

At approximately 2330 hours, she observed a male subject, later identified as OLSEN, wearing

camouflage pants, no shirt and carrying a skateboard. He walked on to Federal property and

approached the entrance doors closest to the north side of the building. OLSEN walked up to the

entrance and began yelling “Fuck you” and other unintelligible words at the officers standing

inside the entrance. FPS Inspector O’NEAL gave several trespass warnings to OLSEN and


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dispersed him from the property using the Pepper ball Launcher System (PLS). OLSEN ran west

towards Lonsdale Park after being dispersed but returned minutes later. OLSEN again

approached the building entrance doors and began to yell at officers through the glass doors. He

then placed his right arm on the door, attempting to force the door to stay closed. A few moments

later, an unidentified female subject approached the doorway and slid a long wooden 2” x 4”

into the bottom portion handles of the door attempting to barricade the door shut and prevent the

law enforcement officers from egressing the courthouse. Simultaneously, a USMS Deputy

Marshal was pushing on the handle of the door from the interior attempting to open the door and

prevent the placement of the 2” x 4”. OLSEN continued to keep his right arm on the right side of

the door and attempted to hold it shut to ensure the female subject could barricade the door. The

pressure between the 2” x 4” placement, the door being pushed from the inside, and OLSEN’s

attempt to keep the door shut cased the door to crack under the pressure and shatter completely.

OLSEN along with the female subject and two other unknown subjects who were on property

ran west towards the park. A few minutes later, OLSEN returned to the property. At that time,

the USMS determined that they were going to exit the building to take OLSEN into custody. At

approximately 2340 hours, the USMS, along with FPS, exited the facility. The USMS took

custody of OLSEN while FPS provided perimeter security. The DUSMs subsequently

transported OLSEN to the holding cell.

       12.     On July 3, 2020, at approximately 5:55am, SA Miller and SA Coring identified

themselves to OLSEN with their agency issued credentials, who was being held in a USMS

detention cell on the 4th floor of the Hatfield USCH. SA Miller asked OLSEN if he was willing

to provide a statement and he stated he did wish to provide a verbal statement.


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SA Coring activate his agency issued Olympus Digital Voice Recorder model WS-500M and

read the preamble to OLSEN. SA Miller then verbally advised OLSEN of his Miranda Rights.

OLSEN again agreed to provide a verbal statement.

OLSEN verbally identified himself as Kiefer Alan Moore with a date of birth of May 5, 1996

and had possession of an Oregon drivers license of Moore but contained a photograph that did

not match OLSEN. OLSEN’s statement is summarized below:

He is a peaceful person who has been victimized by law enforcement in the past. He did not

touch the glass door of the USCH at any time nor was he near enough to the door to affect it in

any way but did have to get back from the same glass door to insure he was not injured by the

door. He stated a cop tried to push a door out and he didn’t want to be hit by the door. He did

want to get close enough to speak to the officers. SA Miller asked if he heard any verbal

warnings to leave federal property and OLSEN stated he could not hear due to the masks the

officers were wearing. OLSEN related he believed an officer inside the courthouse purposely

broke the glass door. OSLEN motioned a punch with a closed fist and stated the officer was

probably frustrated and punched out the glass door. OLSEN showed the back of both his hands

and complained of being injured but was not going to sue. SA Miller observed a small amount of

dried blood on some of OLSEN’S fingers and back of his hand with minor scratches. SA Miller

asked OLSEN how he had been injured on his hands and OLSEN related it happened when he

was arrested and slammed to the ground with broken glass on the ground. SA Miller observed

no other injuries, lacerations or blood anywhere else on OLSEN’S body and OLSEN did not

indicate any other injuries besides the back of his hands.




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       13.     The U.S. Federal Courthouse has an extensive video surveillance system that

records many parts of the Hatfield Courthouse. I was able to review some of the security footage

from this incident. From my review of the footage, the timestamp of the surveillance shows

11:38pm when OLSEN engages with USMS Deputies at the lobby entrance. The video is from

above and behind three subjects facing the glass doors to the building’s lobby. The three

subjects are attired in dark or black clothing. One subject is holding a camera to the glass, a

second is kneeling and using a skateboard as a shield, and a third pointing an open black

umbrella at the glass doors. Bright flashing strobe lights and green laser beams are being shined

on the front doors and the officers inside. The following photos are screen captures from the

Hatfield security cameras from the night of the incident:




                     Flashing strobe lights and green lasers aimed at officers

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 Olsen (second from right) is shirtless holding the doors shut as the wood is placed to bar the
                                          doors closed




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                                     Door shatters




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     Officers standing the in the entry securing the facility with their bodies and riot shields

From the video, OLSEN approaches the front doors. He is shirtless, wearing a black backpack,

carrying a guitar and skateboard. An officer inside the building pushes OLSEN back with the

door twice. OLSEN places his right hand to the door and shortly after, his right forearm in an

apparent attempt to keep officers from opening the door. A second person in dark clothing with

a camera joins the group at the front doors, shining a bright light on the glass and officers inside.

A fifth person wearing dark clothing enters the video from the south carrying a 2” x 4” piece of

lumber which they push along the bottom of the door. Officers and OLSEN begin pushing back

and forth on the door and the door shatters seconds later. During the next 10 minutes of video, a

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mortar firework is thrown into the lobby and detonates amongst the officers, strobe lights and

green lasers continue to be employed by demonstrators. OLSEN is seen moving in and out of

the area, appearing to yell and point at officers. At times OLSEN is within 20-30 feet of officers.

With the door now breached, the officers were exposed to commercial grade fireworks that were

launched from the crowd at the entry of the Courthouse:




             Commercial grade fireworks launched into the entry of the Courthouse




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                          Fireworks detonating in the entryway




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        Fireworks launched into the open doorway detonating inside the Courthouse




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            Roman candle detonating at the officers with shields in the doorway




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               ,QGLYLGXDO ZLWKFDPHUDSRLQWHGDWofficers standing in the doorway as a Roman
                                candle detonates at the officers

At timestamp 11:48 p.m., officers using a shield and deploying less-lethal weapon systems,

move out of the lobby and take OLSEN into custody.

                                          Conclusion

       14.    Based on the foregoing, I have probable cause to believe, and I do believe, that

Rowan M. OLSEN committed the following offenses: Creating a Hazard on Federal Property in

violation of 41 C.F.R. § 102.74.380(d), Disorderly Conduct on Federal Property in violation of

41 C.F.R. § 102.74.390, and Failing to Obey a Lawful Order in violation of 41 C.F.R.



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§ 102.74.385. I therefore request that the Court issue a criminal complaint and arrest warrant for

Rowan M. OLSEN.

       15.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Paul T.

Maloney, and AUSA Maloney advised me that in his opinion the affidavit and complaint are

legally and factually sufficient to establish probable cause to support the issuance of the

requested criminal complaint and arrest warrant.

                                                      /s/ Sworn to by telephone
                                                      In accordance with Fed. R. Crim. P. 4.1
                                                      David MILLER
                                                      Senior Special Agent
                                                      Federal Protective Service

                                                         [[[
       Sworn to by telephone or other reliable means at _____a.m./p.m. in accordance with

Fed. R. Crim. P. 4.1 this _______
                            WK day of July 2020.


                                                      ________________________________
                                                      HONORABLE YOULEE YIM YOU
                                                      United States Magistrate Judge




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